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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                         *
                                                  *
               v.                                 *
                                                  *
JOSEPH BAPTISTE and                                     Criminal Action No. 17-cr-10305-ADB
                                                  *
ROGER RICHARD BONCY,                              *
                                                  *
               Defendants.                        *
                                                  *

 MEMORANDUM AND ORDER ON DEFENDANT BONCY’S MOTION TO DISMISS

BURROUGHS, D.J.

       On October 30, 2018, a grand jury returned a superseding indictment against Joseph

Baptiste and Roger Richard Boncy charging them with conspiring to violate the Travel Act and

the Foreign Corrupt Practices Act, conspiring to commit money laundering, and violating the

Travel Act based on their efforts to bribe Haitian officials to promote a port development project

in Môle Saint Nicolas, Haiti. [ECF No. 74 (“Superseding Indictment”)]. Currently pending

before the Court is Defendant Boncy’s motion to dismiss the Superseding Indictment on the

basis that certain of the FBI’s recordings of telephone calls between Mr. Boncy and an

undercover FBI agent (“the Recordings”) have been destroyed. [ECF No. 123].

       On June 6, 2019, the Court held an evidentiary hearing regarding the destruction of the

Recordings (“June 6 Hearing”) at which Defendant Boncy questioned the undercover agent who

participated in the Recordings, the case agent, and the Supervisory Special Agent for the

Operational Technology Division in Quantico, VA. See [ECF Nos. 154, 156]. Testimony

presented at the June 6 Hearing concerned the content of the Recordings, the FBI’s standard

practices for collecting and preserving evidence, and the circumstances of how the Recordings

were destroyed.
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       As stated on the record at the June 6 Hearing, the Court concludes that the Recordings

were inadvertently destroyed by the Government. The series of events that led to the destruction

of the Recordings involved both sloppiness and unforeseen technological issues. Furthermore,

the Court is unable to conclude based on the evidence presented whether the Recordings were

exculpatory. Although it is seems clear that on one of the Recordings Defendant Boncy relayed

information to the undercover agent that was “different” than information shared by Defendant

Baptiste, the extent of the difference and whether it amounts to a conclusion that the Recordings

are exculpatory is not knowable on the record before the Court.

       Accordingly, because the Government’s destruction of evidence was careless, rather than

intentional, dismissal is not an appropriate remedy, and Defendant Boncy’s motion to dismiss

[ECF No. 123] is DENIED. The Court, however, will consider less extreme remedies to be

proposed by the parties within the parameters discussed with counsel at the June 6 Hearing.

SO ORDERED.


June 10, 2019                                               /s/ Allison D. Burroughs
                                                            ALLISON D. BURROUGHS
                                                            U.S. DISTRICT JUDGE




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